     Case 2:20-cv-03159-DSF-JPR Document 13 Filed 05/29/20 Page 1 of 1 Page ID #:212
 Seth L. Berman, Esq.
 Abrams, Fensterman, Fensterman, Eisman, Formato, Ferrara,
 Wolf & Carone, LLP
 3 Dakota Drive, Suite 300
 Lake Success, NY 11042
                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
 Platino Records, Inc. and Antoine Music, Inc.,                          CASE NUMBER
                                                                                                 2:20-CV-3159-DSF-JPR
                                                          Plaintiff(s)
                             v.
 Colonize Media, Inc., Yellowcake, Inc., Jose David                           ORDER ON APPLICATION OF NON-
 Hernandez, Kevin Berger, and DOES 1-10,                                    RESIDENT ATTORNEY TO APPEAR IN A
                                                                                SPECIFIC CASE PRO HAC VICE
                                                      Defendant(s).
The Court, having determined whether the required fee has been paid, and having reviewed the Application of
Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
  Berman, Seth, L.                                                                 of        Abrams, Fensterman, Fensterman, Eisman,
  Applicant’s Name (Last Name, First Name & Middle Initial                                   Formato, Ferrara, Wolf & Carone, LLP
  516-328-2300                             516-328-6638                                      3 Dakota Drive, Suite 300
  Telephone Number                         Fax Number                                        Lake Success, NY 11042
                      sberman@abramslaw.com
                              E-Mail Address                                                 Firm/Agency Name & Address
for permission to appear and participate in this case on behalf of
  Colonize Media, Inc., Yellowcake, Inc., Jose David Hernandez and Kevin Berger



  Name(s) of Party(ies) Represent                                  ☐ Plaintiff(s) ☒ Defendant(s) ☐ Other:
and designating as Local Counsel
  Griffin, Jr., Thomas, P.                                                              of     Hefner Stark & Marois, LLP
  Designee’s Name (Last Name, First Name & Middle Initial                                      2150 River Plaza Drive
  155133                            916-925-6620                   916-925-1127                Suite 450
   Designee’s Cal. Bar No.           Telephone Number               Fax Number                 Sacramento, CA 95833
                          tgriffin@hsmlaw.com
                                  E-Mail Address                                               Firm/Agency Name & Address
HEREBY ORDERS THAT the Application be:
  ☐GRANTED
  ☒DENIED:            ☐     for failure to pay the required fee.
                      ☐     for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                      ☐     for failure to complete Application:
                      ☐     pursuant to L.R. 83-2.1.3.2: ☐Applicant resides in California; ☐ previous Applications listed indicate Applicant
                            is regularly employed or engaged in business, professional, or other similar activities in California.
                      ☒     pursuant to L.R. 83-2.1.3.4; Local Counsel: ☐ is not member of Bar of this Court; ☒ does not maintain office
                            District.
                      ☐ because
IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: ☐ be refunded ☐ not be refunded.

Dated: May 29, 2020
                                                                                                  U.S. District Judge


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